Carranza-Reyes v, Park County

Case 1:05-cv-00377-WDM-BNB Document 154-5 Filed 02/01/07 USDC Colorado Page 1 of 2

Helen M. Woodard, M.A.

 

 

 

 

 

 

61. 63
I Q. That would be in United States dollars? 1 many hours is that?
2 A. That's in dollars. 2 A. [think that that's eight hours --
3 Q. Okay. So -- 3 Q. Okay. And do you know --
4 A. We were careful that everything was in 4 A. -- but let me make sure. Let me see if I
3. dollars. 3 can find it here and make sure so that I don't tell you
6 Q. So you would get -- how did you get the 6 incorrect information.
7 data, if you know, or how did your statf get the data to | 7 Q. Take a look at pages 44 and 45.
8 do it in dollars? 8 A. ['mnotthere yet. Ah. They're using a
9 A, Well, some of the places we contacted 9 $12 -- 12-hour day.
10 because they want paid in dollars. 10 Q. For Mexico?
I Q. Just said, This is our fee in dollars? 11 A. For Mexico; that's right.
12 A. Right. And others we used whatever the 12 Q. And would you assume that a C.N.A. in the
13 conversion rate was, which is probably about 10 anda | 13 United States would be an eight-hour day, or would that
I4 half pesos to a dollar. 14 be a 12 hour day too?
15 Q. And then you would -- if you gota quote of =| 15 A. Well, we got an hourly rate --
16 it in pesos, you'd convert it based on whatever the 16 Q. Okay.
17 then-prevailing exchange rate would be, and then put it | 17 A. -+ and so we are using the hourly rate. And
18 in this chart, or Mr. Daly did, in dollars? 18 we know that it's generally a four-hour minimum.
19 A. Right. ‘19 Q. Okay. So the -- so 73 hours -- $73 a day
20 Q. Okay. Whose handwriting is at the bottom of | 20 converted from -- well, let me ask you this so that I
21. this chart? 21 understand it: Do you know whether this kind of personal
22 A. I'mnot entirely sure. [t looks like 22 care assistance in Mexico requires payment in dollars, or
23 Char’s, but I can't swear to that. 23 was it converted?
24 Q. Okay. Do you know what is meant by 24 A. Texpect it varies hugely with the agency.
25 “"R-s-c-h" -- which I assume is research -- that says, "66; 25 Q. But that's $73 a day for a 12-hour day, as
62 64
1 percent less in Mexico"? 1 opposed to $22 an hour in the United States?
2 A. Right. 2 A. With a four-hour minimum.
3 Q. What does that mean? 3 Q. Okay. So if you were going to compare the
4 A. That means what it says: Research says 66 4 costs, you would need to multiply $22 an hour by 12?
3 percent less in Mexico. 5 A. No. We would need to find less than 12-hour
6 Q. And-- 6 care, because he doesn't need 12 hours of care. And so
7 A. But that isn't what we found. 7 we would need to find a provider who would provide less
8 Q. And what you found was about a 48 percent -- 8 care, and we would need to know if that care cost goes up
9 A. Right. And it varies quite a bit by ~ I 9 onan hourly basis in Mexico.
10 mean, I don't think you can average these, because it is 10 Q. Okay. And do you -- from the data that
Lt alot different based on different aspects of the care. 11 you've reviewed, do you know that information --
12 Q. Okay. Depending on what the nature of the 12 A. [don't --
13 care is? 13 Q.  -- or is that information --
14 A. That's right. 14 A. I don't have that information.
15 Q. Let me understand the C.N.A. care systems 15 Q. Does Mr. Daly speak Spanish?
16 piece. When it savs 22 hours -- $22 in United States 16 A. No,
17 dollars an hour with a four-hour minimum, what does that | 17 Q. So he would have used Miss Valenzuela to
18 mean? 18 help translate --
19 A. That means that the agencies that provide 19 A. That's night.
20 that care, the average cost was $17, but they won't come {| 20 Q.  -- to get this data?
21 in for one hour. They only come in for a four-hour 21 A. Yes.
22 shift -- 22 Q. When you -- on the stuff that has the
23 Q. Okay. 23 information about providers in Mexico, the number there,
24 A. -= or more. 24 is that a telephone number?
25 Q. And when the data there is $88 per day, how 25 A. Yes. PLAINTIFF'S
XHIBIT

Pages 61 to 64
* SUBJECT TO CONFIDENTIALITY DESIGNATIONS *

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Case 1:05-cv-00377-WDM-BNB Document 154-5 Filed 02/01/07 USDC Colorado Page 2 of 2

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65 67
\ Q. Without country codes and that sort of 1 were doing. That was -- that would be very complicated.
: 2 thing? + 2 And so we just -- because it’s a smail part of the life
3 A. Well. you know the country code. 3° care plan, and | was using U.S. costs. | decided to not
4 Q. No. | understand that. But other than -- | 4 do thar.
5 that's what that refers to? 1 § Q. Okay.
6 A. Yes. i 6 A. It was a considered decision.
7 Q. Okay. Take a look at page 21, if you would. 7 Q. [understand. Take a look at page 80.
8 I'm confused a little bit, because when we were looking 8 A. On page what?
9 at that chart at the beginning, which is page 6. you 9 Q. 80, 8-0. I'm sorry. Do you know whose
10 indicated that the numbers on that chart are put back 10 handwriting this is?
11. into United States dollars. But it looks like. if you itl A. This is Char's handwriting, actually, so I'm
12 look at page 21, for instance, the hospital Angeles 12 wrong about whose handwriting that was on the other page.
13 Mexico at $500 per visit. that suggests to me that might 13 I don't know whose handwniting that was.
14 be in pesos, particularly since -- 14 Q. This reflects, [ believe, a conversation
15 A. Yeah, that was pesos, and we converted it 13 between Miss Morgan and Mr. Carranza-Reyes dated on
16 over here in handwriting to dollars. 16 December 14th of '05; is that correct?
17 Q. Understood. So the raw data on the surveys 17 A. Um-hum, that's correct, with Deena as the
18 are -- even though it has a dollar sign, it's your 18 interpreter.
19 understanding that's pesos. And then when it got into 19 THE REPORTER: Wait.
20 the comparison of average medical costs, it became United ; 20 (Break taken from 5:36 p.m. until 5:44 p.m.)
21 States dollars? 2 Q. (BY MR. RINGEL) Back to Exhibit 80, I
22 A. If-- if it was given in pesos. 22. believe that the court reporter's coughing caused her to
23 Q. Okay. 23 not get the last series of questions. so I'm going to ask
24 A. I mean, in Mexico they use the dollar sign 24 you again --
23 in front of the pesos, which always confuses tourists. 25 A. Okay.
66 | 68
1 Q. Oh, okay. All right. So when - i Q. -- just to make sure we have a record of it.
2 A. So when you go shopping, and it says this is 2 Page 80 of your file is ~ reflects a telephone
3 3650, and you think, My God, that's an expensive pair of ! 3 conversation between Miss Morgan with Mr. Carranza-Reyes
4 earrings -- 4 of December 14, 2005, using Miss Valenzuela as an
5 Q. They're using that as a shorthand. They 5 interpreter?
6 don't have a symbol for the pesos, other than the dollar? | 6 A. Yes,
7 A. Well, they use a dollar sign in front of it. 7 Q. And you weren't present for that
8 Q. Gotit. Okay. That's helpful. Take a look 8 conversation; is that correct?
9 at -- beginning on page 52. 9 A. That's correct.
10 A. _ It's blank. 10 Q. The next page, page 81, is information that
I Q. Tunderstand. But what [ wanted to show you | 11 you -- that Miss Morgan asked of Mr. Trine’s office; is
12 is that this is your equipment part of your folder, of 12. that right?
13 your file that begins, and then on 53 is the data on 13 A. These are things that we knew we were
14 equipment. Does that seem right to you? 14 missing that we needed.
15 A. Well, this is just, yeah, different kinds of 15 Q. Okay. And --
16 equipment. 16 A. You know, it’s really hard to know what
17 Q. Right. Okay. I don't see any information 17 you're missing.
18 about the cost of equipment in Mexico. Am I missing 18 Q. Lunderstand. And this information is now
19 something -- 19 amongst the medical records that you have in your
20 A. No. 20 possession? -
21 Q.  —or was that not something you did? 21 A. Yes.
22 A. We didn't do that. 22 Q. You got this information?
2 Q. Why? 23 A. Yes,
24 A. First of ail, because we didn't -- we didn't 24 Q. Take a look at page 82. Do you recognize
25 contact Mexican suppliers and try to describe what we | 25 this handwriting?

 

 

Pages 65 to 68
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